Case 2:22-cv-01088-CAS-JC Document 15-1 Filed 05/11/22 Page1of8 Page ID #:46

Jeffrey P. Samuels, Esq.
1610 Granville Avenue
#6
Los Angeles, California 90025

April 26, 2022
California Central District Court
350 West 1° Street
Los Angeles, California 90012
Re: Case Number 2:22-01088
Dear Sir/Madam:

Enclosed are two proof of service forms, one for each defendant, together with copies of the
Return Receipt Proof of Service for each defendant.

If any of the documents submitted are in any way unacceptable, please notify me immediately so
I may correct any deficiencies.

Thank you for your courtesy and cooperation in this matter.

Very truly yours,

     
  

aS

effrey P. Samuels, Esq.
Case 2:22-cv-01088-CAS-JC Document 15-1 Filed 05/11/22 Page 2of8 Page ID #:47

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)
Civil Action No. 2:22-2-01088

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (I)

This summons for (name of individual and title, if any) U.S.DEPARTMENT OF TREASURY

 

was received by me on (date)

 

© I personally served the summons on the individual at (place)

 

on (date) > Or

 

(I I left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

 

 

 

 

on (date) , and mailed a copy to the individual’s last known address; or
Cl I served the summons on (name of individual) MAIL CLERK , who is
designated by law to accept service of process on behalf of (name of organization) U.S. DEPARTMENT OF
TREASURY on (date) 04/11/2022 3; or
(1 I returned the summons unexecuted because 3 or

 

Cl Other (specify):

My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

  

 

\ SL Tl ere ’s signature
A
JEFFREY P. SAMUELS, ESQ

Printed name and title

1610 GRANVILLE AVENUE
#6
LOS ANGELES, CA 90025

 

 

Server’s address

Additional information regarding attempted service, etc:

 

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AO 440 (Rev, 06/12) Summons in a Civil Action (Page 2)

 

Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (I)

This summons for (name of individual and title, if any) FEDERAL EMERGENCY MANAGEMENT AGENCY

 

was received by me on (date)

 

[ I personally served the summons on the individual at (place)

 

on (date) ; or

 

© I left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

 

 

 

 

on (date) , and mailed a copy to the individual’s last known address; or
of I served the summons on (name of individual) M THOMAS , who is
designated by law to accept service of process on behalf of (name of organization) FEDERAL EMERGENCY
MANAGEMENT AGENCY on (date) 04/12/2022 ; or
CI I returned the summons unexecuted because > or

 

C1 Other (specify):

My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date: La ph

( Y f J / Server’ s signature

JEFFREY SAMUELS, ESQ.

Printed name and title
SONY GRAY YILLE Ave
#L’
Les ty bete 5, CAPO 2S

Server's address

 

Additional information regarding attempted service, etc:

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or on the front if space permits. —
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